
222 East 12 Realty LLC, Petitioner-Landlord-Appellant, 
againstChris McNally, Respondent-Tenant, and Dora Blount, Respondent-Undertenant-Respondent.



Landlord appeals from those portions of an order of the Civil Court of the City of New York, New York County (Jack Stoller, J.), dated November 10, 2016, which granted the motion of respondent-undertenant Dora Blount for summary judgment dismissing the petition in a holdover summary proceeding, and denied landlord's cross motion for summary judgment of possession against said respondent.




Per Curiam.
Order (Jack Stoller, J.), dated November 10, 2016, insofar as appealed from, affirmed, with $10 costs.
We agree with Civil Court that respondent Dora Blount made a prima facie showing of entitlement to summary judgment dismissing the holdover petition on the ground that she is a "permanent tenant" under the Rent Stabilization Code [9 NYCRR] § 2520.6(j). The record shows, and it is not disputed, that respondent resided in the subject hotel dwelling unit for at least six months; landlord was aware of her occupancy as she paid rent in her own name, sued landlord in her own name in an HP proceeding, and even requested a lease in her own name. Thus, respondent qualified as a "permanent tenant" - a term broadly defined in the Code as "an individual or such individual's family members residing with such individual, who have continuously resided in the same building as a principal residence for a period of at least six months" (RSC § 2520.6[j]; see Einhorn v McCloud, 57 Misc 3d 139[A], 2017 NY Slip Op 51323[U] [App Term, 1st Dept 2017]; 25 W. 24th St. Realty Corp. v Gianquinto, 55 Misc 3d 28 [2017]; Kanti-Savita Realty Corp. v Santiago, 18 Misc 3d 74 [2007]).
We have considered landlord's arguments and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: March 26, 2018










